CRIMINAL COVER SHEET
MIDDLE DISTRICT OF TENNESSEE
NASHVILLE DIVISION

Indictment (
Complaint (
Information (
Felony (
Misdemeanor (
Juvenile (

Paul Place
Defendant's Full Name

County of Offense:
AUSA’s NAME:

Reviewed by AUSA:

Davidson and Others

Amanda J. Klopf

_AJK
(initials)

Interpreter Needed? Yes x No
Defendant's Address
lf Yes, what language?
Defendant's Attorney
COUNT(S) TITLE/SECTION OFFENSE CHARGED MAX. PRISON (plus MAX. FINE
any mandatory
minimum)
2 18 USC 248(a)(1), 2 Violation of the FACE Act Not more than 1 year.* | $10,000

* In the case of a second or subsequent offense after a prior conviction under this section, not more than 3 years

Is the defendant currently in custody?

Has a complaint been filed?

If Yes: Name of the Magistrate Judge

Case No.:

Was the defendant arrested on the complaint?

Has a search warrant been issued? Yes

Was bond set by Magistrate/District Judge? Yes ( ) No

To/from what district?
To/from what district?

Is this a Rule 20? Yes ( ) No(x)
Is this a Rule 40? Yes ( ) No(x)

Estimated trial time: 5 days

The Clerk will issue a Summons

Yes () No (x )

Yes () No (x )
Yes ()

(x) No ()

(x )

If yes, State or Federal? Writ requested (  )

No ()

Amount of bond:

probable cause to a judicial officer, who will determine whether to issue a warrant)

Detention requested: Yes ( ) No(x)
health services without prior approval of the probation office

(circle one) (Note: If information, request for a warrant requires presentment of a sworn affidavit of

Recommended conditions of release: _Do not enter a facility that provides reproductive

Case 3:22-cr-00327 Document 3-11

Filed 10/03/22

Page 1 of 1 PagelD #: 22

